              Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 1 of 26




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


    STEPHEN GIANNAROS,

                          Plaintiff,                         Civil Action No.

          v.                                                 COMPLAINT FOR DECLARATORY
                                                             AND INJUNCTIVE RELIEF
    NLU PRODUCTS, L.L.C. d/b/a BGZ
    BRANDS,

                          Defendant.


               COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

         Plaintiff Stephen Giannaros1 (“Mr. Giannaros” or “Plaintiff”), for his Complaint against

NLU Products, L.L.C. (“BGZ Brands” or “Defendant”), by and through his counsel, alleges

upon personal knowledge as to himself and upon information and belief as to all other matters,

based upon the investigation conducted by and through his counsel, which includes, among other

things, an investigation of Defendant’s digital properties, as follows:

                          NATURE AND SUMMARY OF THE ACTION

         1.       This action arises from Defendant’s failure to make its digital properties

accessible to blind individuals,2 which violates the effective communication and equal access

requirements of Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12181-

12189. These provisions were enacted “to provide a clear and comprehensive national mandate




1
  He/Him/His (see University of Pittsburgh, Gender-Inclusivity Guidelines, available at
http://www.gsws.pitt.edu/node/1432 (last accessed October 18, 2021)).
2
  Mr. Giannaros uses the word “blind” to describe individuals who, as a result of a visual
impairment, have substantially limited eyesight. This includes individuals who have no vision at
all as well as people who have low vision.


                                                   1
            Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 2 of 26




for the elimination of discrimination against individuals with disabilities”3 by “assur[ing]

equality of opportunity, full participation, independent living, and economic self-sufficiency.”4

       2.       Although styled as an individual action, the injunctive relief that Mr. Giannaros

seeks will inure to the benefit of an estimated 2.3 percent of the United States population who

report having a visual disability,5 and to Defendant, who will extend its market reach to this

population.6

       3.       For this significant portion of Americans, accessing websites, mobile applications,

and other information via their smartphones has become a necessity, not a convenience. In

contrast to the largely stationary internet of the early 2000s, Americans today are increasingly

connected to the world of digital information while “on the go” via smartphones.7

       4.       Indeed, a growing share of Americans use smartphones as their primary means of

online access at home. Today roughly one-in-five American adults are “smartphone-only”




3
  42 U.S.C. § 12101(b)(1).
4
  42 U.S.C. § 12101(a)(7).
5
  Erickson, W., Lee, C., von Schrader, S., Disability Statistics from the American Community
Survey (ACS), Cornell University Yang-Tan Institute (YTI), www.disabilitystatistics.org (last
accessed October 18, 2021).
6
  Sharron Rush, The Business Case for Digital Accessibility, W3C Web Accessibility Initiative
(Nov. 9, 2018), https://www.w3.org/WAI/business-case/ (last accessed October 18, 2021) (“The
global market of people with disabilities is over 1 billion people with a spending power of more
than $6 trillion. Accessibility often improves the online experience for all users.”).
7
  The wide-scale adoption of this technology is staggering. According to Pew Research Center,
the vast majority of Americans – 96% – now own a cellphone of some kind. And the share of
Americans that own smartphones has climbed from just 35% in 2011 to 81% in 2019—
amounting to more than 265 million people in the United States. U.S and World Population
Clock, U.S. Census Bureau, https://www.census.gov/popclock/ (last accessed October 18, 2021)
(U.S. population on June 12, 2019 was 328.1 million).


                                                 2
            Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 3 of 26




internet users—meaning they own a smartphone, but do not have traditional home broadband

service.8

       5.       The growth of smartphone usage is rivaled only by the myriad ways in which

users can harness the capabilities of the internet for the betterment of their lives through

education, employment, entertainment, commerce, and countless other pursuits.

       6.       The U.S. Chamber of Commerce has documented consumers’ increasing reliance

on mobile platforms to shop online:

       The average consumer spends more than $1,700 per year on online shopping, a
       number that’s continuing to rise. The convenience, affordability and ability to
       compare prices with ease has led more and more customers to visit e-commerce
       sites before heading to a brick-and-mortar location.9

       New research by Leanplum found that 95% of consumers will buy at least half of
       their gifts online. Shoppers, especially millennials and Gen Zers, favor the
       convenience and the great offers and discounts associated more with shopping
       online than visiting a brick-and-mortar location. It’s these groups that are driving
       e-commerce retailers to be strategic with their website design. The Leanplum
       survey found that 80% of respondents shop on their mobile devices.10

       7.       Even the Supreme Court has acknowledged the phrase, “‘There’s an app for that’

has become part of the 21st-century American lexicon.” Apple Inc. v. Pepper, 139 S. Ct. 1514,

1518, 203 L.Ed.2d 802, 806 (2019).


8
  Id.
9
  Emily Heaslip, A Guide to Building an Online Store, U.S. Chamber of Commerce (Sept. 20,
2019), https://www.uschamber.com/co/start/startup/how-to-build-online-stores (last accessed
October 18, 2021).
10
   Emily Heaslip, 5 Ways to Optimize Your E-Commerce Site for Mobile Shopping, U.S.
Chamber of Commerce (Jan. 6, 2020), https://www.uschamber.com/co/run/technology/building-
mobile-friendly-ecommerce-websites (last accessed October 18, 2021). “According to one
report, e-commerce is growing 23% each year[.]” Emily Heaslip, The Complete Guide to Selling
Online, U.S. Chamber of Commerce (Jan. 28, 2020),
https://www.uschamber.com/co/run/technology/small-business-ecommerce-guide (last accessed
October 18, 2021).


                                                  3
             Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 4 of 26




        8.         But “[a]s technology continues to evolve at a rapid pace, it is important to

consider factors that can facilitate or impede technology adoption and use by people with

disabilities.”11

        9.         This is especially true with respect to accessing the internet by smartphone, where

people with disabilities stand to benefit immensely if online services were fully and equally

accessible to them. The National Federation of the Blind explains:

        In many ways, individuals with disabilities rely on Web content more so than their
        nondisabled peers because of inherent transportation, communication, and other
        barriers. A blind person does not have the same autonomy to drive to a covered
        entity’s office as a sighted person. A deaf or hard of hearing person does not have
        the same opportunity to call a covered entity’s office. A person with an intellectual
        disability does not have the same ability to interact independently with the staff at
        a covered entity’s office. The 24-hour-a-day availability of information and
        transactions on covered entity websites and mobile apps provides a level of
        independence and convenience that cannot be replicated through any other means.
        That is why the number of Americans who rely on the Internet has increased year
        after year and why entities offer information and transactions through that unique
        medium.12

        10.        When digital content is properly formatted, it is universally accessible to

everyone. When it’s not, the content provider fails to communicate to individuals with a visual

disability effectively. In turn, these individuals must expend additional time and effort to




11
   National Disability Policy: A Progress Report, Nat’l Council on Disability (Oct. 7, 2016),
https://ncd.gov/sites/default/files/NCD_ProgressReport_ES_508.pdf (last accessed October 18,
2021).
12
   Comment from disability rights organizations to DOJ Supplemental Advance Notice of
Proposed Rulemaking “Nondiscrimination on the Basis of Disability; Accessibility of Web
Information and Services of State and Local Government Entities,” C RT Docket No 128, RIN
119 -AA65, Answer 57 (October 7, 2016) (citations omitted).


                                                     4
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 5 of 26




overcome communication barriers not applicable to sighted users, which may require the

assistance of third parties or, in some instances, may deny outright access to the online service.13

       11.     Unfortunately, Defendant fails to communicate effectively with Mr. Giannaros

because its digital properties are not properly formatted. Because of these communication

barriers, Defendant deprives consumers with visual disabilities, including Mr. Giannaros, from

accessing information about its products and using its online services, all of which is readily

available to sighted persons.

       12.     This action seeks to remedy that discrimination and inequality.

                                 JURISDICTION AND VENUE

       13.     The claims alleged arise under Title III such that this Court’s jurisdiction is

invoked pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       14.     Defendant attempts to, and indeed does, participate in the Commonwealth’s

economic life by offering and providing products and services over the internet to Massachusetts

residents, including Mr. Giannaros. Unlike, for example, a winery that may not be able sell and

ship wine to consumers in certain states, Defendant purposefully avails itself of the benefits and

advantages of operating an interactive, online business open 24-hours a day, 7-days a week, 365-

days a year to Massachusetts residents.14 These online contacts between Defendant and


13
   These factors often lead disabled individuals to abandon the process of purchasing items
online after they begin. Kasey Wehrum, Your Website is Scaring Customers Away. 5 Easy Ways
to Fix It., Inc. Mag. (Jan. 2014), https://www.inc.com/magazine/201312/kasey-wehrum/how-to-
get-online-customers-to-complete-purchase.html (last accessed October 18, 2021) (documenting
the most common causes of shopping cart abandonment, including: “Your Checkout button is
hard to find[,]” “Shoppers question the safety of their personal info[,]” and “Getting through the
checkout process takes multiple clicks.”).
14
   “Massachusetts has a strong and historic interest in adjudicating this dispute involving its blind
residents. It is the home of the Perkins School for the Blind, which was America’s first school
for the blind. Helen Keller was taught there.” Access Now Inc. v. Otter Products, LLC, 280 F.


                                                 5
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 6 of 26




Massachusetts residents involve, and indeed require, Defendant’s knowing and repeated

transmission of computer files over the internet in Massachusetts.

       15.     Mr. Giannaros was injured when he attempted to access the Digital Platform from

Massachusetts, but encountered communication barriers that denied him full and equal access to

Defendant’s online products, content, and services.

       16.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Mr.

Giannaros’s claims occurred.

                                             PARTIES

       17.     Mr. Giannaros is a natural person over the age of 18. He resides in and is a citizen

of Salem, Massachusetts, located in Essex County.

       18.     He works for the Commonwealth as a Senior Vocational Rehabilitation

Counselor, helping other Massachusetts residents with disabilities develop individualized plans

for employment, among other things. See LinkedIn, Steve Giannaros,

https://www.linkedin.com/in/steve-giannaros-2967853b/ (last accessed October 18, 2021). Mr.

Giannaros is also a former professional musician. See SoundCloud, stevegiannaros,

https://soundcloud.com/sgiannaros (last accessed October 18, 2021).

       19.     Mr. Giannaros was diagnosed with Cone-rod dystrophy (“CRD”) when he was

twenty. CRD is a genetic eye disorder which causes vision loss as the light-sensing cells of the

retina gradually deteriorate. See Cone-rod dystrophy, U.S. National Library of Medicine,




Supp. 3d 287, 294 (D. Mass. 2017) (exercising personal jurisdiction over forum plaintiff’s
website accessibility claims against out-of-forum website operator); Access Now, Inc. v.
Sportswear, Inc., 298 F. Supp. 3d 296 (D. Mass. 2018) (same).


                                                  6
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 7 of 26




Genetics Home Reference (available at https://ghr.nlm.nih.gov/condition/cone-rod-dystrophy)

(last accessed October 18, 2021).

        20.    Today, Mr. Giannaros has very little usable sight. He cannot see faces or text. He

is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2), and the

regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

        21.    Mr. Giannaros relies on screen reader auxiliary aids, including JAWS 2020 from

Freedom Scientific and VoiceOver with iOS, to access digital information, like a Microsoft

Word document, an email, or a website.

        22.    Defendant is a Utah limited liability company with a principal place of business in

Utah.

        23.    Defendant sells phone cases and accessories to consumers.

        24.    In order to research and purchase the products and services that Defendant offers,

Mr. Giannaros may visit Defendant’s online store at https://www.bodyguardz.com/ (the “Digital

Platform”).

        25.    Defendant owns, operates, and/or controls its Digital Platform and is responsible

for the policies, practices, and procedures concerning the Digital Platform’s development and

maintenance.

                        STANDING UP FOR TITLE III OF THE ADA

        26.    “Congress passed the ADA in 1990 to fix a serious problem—namely, the

seclusion of people with disabilities resulting in explicit and implicit discrimination.”15 “It was




15
  Kelly Johnson, Testers Standing up for the Title III of the ADA, 59 Cas. W. Res. L. Rev. 683,
684 (2009), http://scholarlycommons.law.case.edu/caselrev/vol59/iss3/6 (last accessed October
18, 2021) (citing H.R. REP. No. 101-485, pt. 2, at 28-29 (1990)).


                                                  7
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 8 of 26




called the ‘20th Century Emancipation Proclamation for all persons with disabilities.’”16 “Title III

of the ADA contained broad language covering numerous public accommodations; both new

construction and existing facilities were required by the statute to remove barriers to access. The

disabled population hoped that, as a result of the ADA, their lives would no longer be shaped by

limited access and the inability to choose.”17 “However, reality—a lack of compliance with the

ADA and severe underenforcement of the statute—soon destroyed this hope.”18

       27.     Thirty years “after the passage of the ADA, numerous facilities are still not

compliant leaving the disabled population in a second-class citizenship limbo. Title III of the

ADA allows both the U.S. Attorney General19 and private individuals20 to sue, but the rate at

which [ ] the Attorney General [is] bringing suit seeking compliance is extremely low. The

Department of Justice’s Disability Section, tasked with ADA enforcement, is understaffed[.]”21



16
   Id. (quoting D. Russell Hymas & Brett R. Parkinson, Comment, Architectural Barriers Under
the ADA: An Answer to the Judiciary’s Struggle with Technical Non-Compliance, 39 Cal. W. L.
Rev. 349, 350 (2003),
https://scholarlycommons.law.cwsl.edu/cgi/viewcontent.cgi?article=1166&context=cwlr (last
accessed October 18, 2021)); see also 136 Cong. Rec. 17,369 (1990) (statement of Sen. Tom
Harkin) (discussing how facilities have failed to comply with the ADA by not removing barriers
that impede access).
17
   Johnson, supra note 15 (citing Elizabeth Keadle Markey, Note, The ADA’s Last Stand?:
Standing and the Americans with Disabilities Act, 71 Fordham L. Rev. 185 (2002),
https://ir.lawnet.fordham.edu/flr/vol71/iss1/4 (last accessed October 18, 2021) (arguing for a
more lenient standard for standing under the ADA)).
18
   Johnson, supra note 14 (citing Samuel R. Bagenstos, The Perversity of Limited Civil Rights
Remedies: The Case of “Abusive” ADA Litigation, 54 UCLA L. Rev. 1, 3 (2006),
https://www.uclalawreview.org/the-perversity-of-limited-civil-rights-remedies-the-case-of-
abusive-ada-litigation/ (last accessed October 18, 2021) (discussing the need for private
enforcement in Title III of the ADA and the fact that the limitations courts are placing on ADA
plaintiffs are causing abusive litigation)).
19
   42 U.S.C. § 12188(b).
20
   42 U.S.C. § 12188(a).
21
   Johnson, supra note 15.


                                                 8
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 9 of 26




       28.     Thus, “private suits by necessity represent the main tool for ensuring compliance

with Congress’ intent in passing the ADA,”22 most of which suits “are brought by a small

number of private plaintiffs who view themselves as champions of the disabled.”23

       29.     The U.S. Department of Justice (“DOJ”) supports this dynamic, recognizing that

because it “cannot investigate every place of public accommodation” for ADA compliance,

“[p]rivate plaintiffs play an important role in enforcing the ADA[.]”24

       30.     Courts recognize this dynamic too.

       [Defendant] also points to the number of cases filed by the same plaintiff in this
       jurisdiction. Counsel have filed nine cases in this jurisdiction on behalf of [the
       plaintiff]. I am not impressed by this argument. If the ADA were enforced directly
       by the government, as are, for example, the fair housing laws, it is likely that
       government lawyers would have reached out to disabled individuals — “testers” as
       they are called — to find out which businesses were complying and which were
       not. [The named plaintiff] has functioned here as a “tester,” which is entirely
       appropriate.25




22
   Betancourt v. Ingram Park Mall, 735 F. Supp. 2d 587, 596 (W.D. Tex. 2010).
23
   Id. (quoting Molski v. Evergreen Dynasty Corp., 500 F.3d 1047, 1062 (9th Cir. 2007); D’Lil v.
Best Western Encina Lodge & Suites, 538 F.3d 1031, 1040 (9th Cir. 2008) (same).
24
   Statement of Interest of the United States of America, ERC v. Abercrombie & Fitch Co., No.
1:09-cv-03157 (D. Md.), ECF No. 38, at *1 (July 6, 2010); See also Hensley v. Eckerhart, 461
U.S. 424, 445 (1983) (“All of these civil rights laws depend heavily upon private enforcement,
and fee awards have proved an essential remedy if private citizens are to have a meaningful
opportunity to vindicate the important Congressional policies which these laws contain.”).
25
   Norkunas v. HPT Cambridge, LLC, 969 F. Supp. 2d 184, 194 (D. Mass. 2013) (Young, J.)
(quoting Iverson v. Braintree Prop. Assocs., L.P., No. 04-cv-12079-NG, 2008 WL 552652, at *3
n.5 (D. Mass. Feb. 26, 2008) (Gertner, J.)); see also Murphy v. Bob Cochran Motors, Inc., No.
1:19-cv-00239, 2020 U.S. Dist. LEXIS 139887, at *15-16 (W.D. Pa. Aug. 4, 2020), adopted by
Murphy v. Bob Cochran Motors, Inc., 2020 U.S. Dist. LEXIS 177593 (W.D. Pa., Sept. 28, 2020)
(upholding tester standing in a substantially identical ADA website accessibility case).


                                                 9
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 10 of 26




       31.     Consistent with the policies summarized above, Mr. Giannaros now assumes the

role of private attorney general to ensure Defendant communicates effectively with him and

other consumers who demand full and equal screen reader access to Defendant’s digital services.

                               SUBSTANTIVE ALLEGATIONS

       32.     The internet is a significant source of information, services, and transactions with

instant and 24/7 availability and without the need to travel to attain them.

       33.     Individuals who are blind access the internet and mobile applications from

smartphones and/or personal computers by using keyboard controls and screen access software,

which vocalizes information presented visually on a computer screen or displays that information

on a user-provided refreshable braille display. Such software provides the only method by which

blind individuals can independently access digital information and content. When websites and

applications are not designed to allow for use with screen access software, blind individuals are

unable to access the information, products, and services offered through the internet.

       34.     Screen access technology has existed for decades26 and widely-accepted standards

exist to guide entities in making their websites and apps accessible to screen access software,

including legal standards under Section 508 of the Rehabilitation Act. The U.S. Department of

Health & Human Services maintains Best Practices for Accessible Content to ensure that

accessibility is “considered throughout the [website] development process.”27




26
   Annemarie Cooke, A History of Accessibility at IBM, American Found. for the Blind (Mar.
2004), https://www.afb.org/aw/5/2/14760 (last accessed October 18, 2021) (Jim Thatcher created
the first screen reader at IBM in 1986).
27
   See Accessibility Basics, U.S. Dep’t of Health & Human Services, usability.gov,
https://www.usability.gov/what-and-why/accessibility.html (last accessed October 18, 2021).

                                                 10
        Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 11 of 26




       35.     Since at least January 20, 2005, Massachusetts has required all executive agency

websites and web-based applications be made accessible for people with disabilities.28

                              Defendant’s Inaccessible Digital Platform

       36.     Defendant owns, operates, developed, procured, maintains and/or uses the Digital

Platform for the purpose of communicating information about its products and services to

consumers through computers, smartphones, and other mobile devices.

       37.     Defendant is required to ensure that its Digital Platform communicates

information about its products and services effectively to people with disabilities. Despite this

obligation, Defendant fails to communicate this information effectively to individuals who are

blind because the Digital Platform is not compatible with screen reader auxiliary aids.

       38.     Specifically, Mr. Giannaros attempted to access Defendant’s Digital Platform

from Salem, Massachusetts using JAWS 2020 from Freedom Scientific or VoiceOver with iOS

(i.e. on his Apple iPhone).

       39.     “VoiceOver is a gesture-based screen reader that lets

you enjoy using iPhone even if you don’t see the screen. With

VoiceOver enabled, just triple-click the Home button (or the side

button on iPhone X or later) to access it wherever you are in iOS. Hear

a description of everything happening on your screen, from battery

level to who’s calling to which app your finger is on. You can also

adjust the speaking rate and pitch to suit you. …You can control

VoiceOver using a simple set of gestures. Touch or drag your finger



28
  See Web Accessibility Standards, Commonwealth of Mass., Exec. Office of Tech. Servs. and
Sec., (Jan. 20, 2005), https://www.mass.gov/guides/web-accessibility-standards (last accessed
October 18, 2021).

                                                 11
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 12 of 26




around the screen and VoiceOver tells you what’s there. Tap a button to hear a description, then

double-tap to select. Or flick left and right to move from one element to the next. When you

interact with an element, a black rectangle appears around it so sighted users can follow along.

When you prefer privacy, you can activate a screen curtain to turn off the display completely, but

still hear all that VoiceOver has to say. And now with iOS 13, you can choose from a wide range

of gestures and assign those you’re most comfortable with to the commands you use most.”29

       40.     Here is an example of

another online store’s successful use of

audio descriptions to communicate its

products to screen reader users.30 The

image on the left illustrates what

shoppers perceive visually when

browsing the online store with an

iPhone. To the right, is an image from the online store with the audio description highlighted for

that image in green. Although invisible to the eye, screen access software reads this highlighted

text aloud in order to describe the image to shoppers who cannot perceive content visually. In

this example, when shoppers tab to the image file with a screen reader, the online store

announces, “One burlap and cotton tote bag with a custom printed architectural company logo.”

Blind shoppers require descriptive audio descriptions, frequently called “alternative text.” like

this to access digital content fully, equally, and independently.




29
   See Accessibility, Apple, https://www.apple.com/accessibility/iphone/vision/ (last accessed
October 18, 2021).
30
   See Custom Ink, Homepage, https://www.customink.com/ (last accessed October 18, 2021).


                                                 12
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 13 of 26




       41.     Unfortunately, because of Defendant’s failure to build its Digital Platform in a

manner that is compatible with screen access software, including VoiceOver, Mr. Giannaros is

unable to understand, and thus is denied the benefit of, much of the content and services he

wishes to access from his smartphone.

       42.     As a result of visiting the Digital Platform, and from investigations performed on

his behalf, Mr. Giannaros found that Defendant fails to communicate information about its

products and services effectively because screen reader auxiliary aids cannot access important

content on the Digital Platform. Click the link at the end of each subparagraph below to watch a

short video illustrating some of the communication barriers on Defendant’s Digital Platform.

               (a)     The Digital Platform prevents screen reader users from accessing some

primary content. For example, when consumers visit the Digital Platform from a new IP address,

Defendant displays a pop-up window inviting them to “UNLOCK 10% OFF YOUR ORDER.”

Consumers who perceive content visually can click the blue button that reads “GET 10% OFF

NOW when you sign up for texts” to proceed to the next page, sign up, and claim the promotion.

Unfortunately, Defendant does not alert screen readers of this pop-up window. Instead, screen

readers remain focused on the content of the Digital Platform’s underlying page, making the

pop-up invisible to screen reader users. As a result, it is impossible for Plaintiff to perceive this

promotion independently, the effect of which would require him to pay more on his order than

consumers who do not use screen reader technology to shop online. Click the following link to

view a short video demonstrating this access barrier: https://youtu.be/znuWcL0bThU.

               (b)     Defendant prevents screen reader users from accessing some primary

content. For example, when consumers visit the Digital Platform from a new IP address,

Defendant displays a pop-up message to notify them of its cookies policy. Consumers who




                                                  13
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 14 of 26




perceive content visually can click the button to learn more about how Defendant collects and

shares their personal information with social media, advertising, and analytics partners.

Unfortunately, Defendant does not alert screen readers of this pop-up message. Instead, screen

readers remain focused on the content of the Digital Platform’s underlying page, making the

pop-up invisible to screen reader users. As a result, it is impossible for Plaintiff to perceive this

important legal disclosure independently. Click the following link to view a short video

demonstrating this access barrier: https://youtu.be/-0-rxkRKd4c.

               (c)     The Digital Platform uses visual cues to convey content and other

information. Unfortunately, screen readers cannot interpret these cues and communicate the

information they represent to individuals with visual disabilities. For example, consumers who

perceive content visually will notice that many products available for purchase on the Digital

Platform include two prices. One price—a higher price—appears in strikethrough font. The

other—a lower price—does not. Consumers who perceive content visually will understand that

the price appearing in strikethrough font is the “old” or “original” price, while the price

appearing in regular font is the “new” or “sale” price. Unfortunately, screen readers cannot

identify the meanings of these two fonts so that users can make an informed decision. Instead,

Defendant announces two prices for the same product, making it difficult for consumers to

determine with certainty what they signify, like different quantities, conditions, sizes, or in this

case, sales. This unnecessary confusion frustrates Plaintiff’s ability to make informed purchasing

decisions, and increases the odds he will abandon the purchase process without making a

selection at all. Click the following link to view a short video demonstrating this access barrier:

https://youtu.be/znYD1bdS3pQ.




                                                  14
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 15 of 26




               (d)     Defendant uses visual cues as the only means of conveying information,

indicating an action, prompting a response, or distinguishing a visual element. Providing

information conveyed visually through another means is necessary to ensure that consumers who

cannot perceive visual cues can still perceive important information in a non-visual manner. For

example, the Digital Platform allows consumers to select the color of the product they wish to

purchase. Defendant identifies the selected color visually by placing a gray line beneath the color

a shopper selects. Unfortunately, Defendant fails to include alternative text to identify this

selection in a non-visual means. This makes it difficult and frustrating, if not impossible, for

Plaintiff to verify what color he selected, if any. Click the following link to view a short video

demonstrating this access barrier: https://youtu.be/Du20dpe2LqE.

               (e)     The Digital Platform prevents screen reader users from accessing primary

content. For example, Defendant allows consumers to browse its products on the Digital

Platform using the search bar that appears in a pop-up window after clicking on the magnifying

glass icon near the bottom of the webpage. Unfortunately, Defendant does not alert screen

readers to this pop-up window. Instead, screen readers remain stuck on the unrelated elements in

the Digital Platform’s underlying page. As a result, Plaintiff is unlikely (or unable) to access this

important navigational tool independently. Click the following link to view a short video

demonstrating this access barrier: https://youtu.be/oTZrl2voExI.

                                         Plaintiff’s Injury

       43.     As a result of the access barriers described above, and others, Defendant fails to

communicate information about its products and services to Mr. Giannaros effectively, which in




                                                 15
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 16 of 26




turn denies Mr. Giannaros full and equal access to Defendant’s online store and deters him from

returning to the store in the future.31

        44.     Still, Mr. Giannaros intends to attempt to access the Digital Platform within the

next six months to research the products and services Defendant offers or to test the Digital

Platform for compliance with the ADA.32

        45.     If the Digital Platform were accessible (i.e. if Defendant removed the access

barriers and implemented the practices described herein), Mr. Giannaros could independently

access Defendant’s online services.

                   Defendant’s Digital Platform Must Comply with the ADA

        46.     The ADA “as a whole is intended ‘to provide a clear and comprehensive national

mandate for the elimination of discrimination against individuals with disabilities.’”33

        47.     Title III advances that goal by providing that “[n]o individual shall be

discriminated against on the basis of disability in the full and equal enjoyment of the products,

services, facilities, privileges, advantages, or accommodations of any place of public

accommodation by any person who owns, leases (or leases to), or operates a place of public

accommodation.”34




31
   Wehrum, supra note 13.
32
   Norkunas v. HPT Cambridge, LLC, 969 F. Supp. 2d 184, 194 (D. Mass. 2013) (Young, J.)
(quoting Iverson v. Braintree Prop. Assocs., L.P., No. 04-cv-12079-NG, 2008 WL 552652, at *3
n.5 (D. Mass. Feb. 26, 2008) (Gertner, J.)).
33
   Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 589 (1999) (quoting 42 U.S.C. § 12101(b)(1)).
34
   42 U.S.C. § 12182(a).


                                                 16
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 17 of 26




        48.     DOJ regulations require that a public accommodation “furnish appropriate

auxiliary aids and services where necessary to ensure effective communication with individuals

with disabilities.”35

        49.     DOJ defines “auxiliary aids and services” to include “accessible electronic and

information technology” or “other effective methods of making visually delivered materials

available to individuals who are blind or have low vision.”36

        50.     Therefore, the ADA mandates that places of public accommodation provide

auxiliary aids and services to make visual materials available to individuals who are blind.37

        51.     Defendant is a place of public accommodation under the ADA because it is a

“sales or rental establishment” and/or “other service establishment.”38

        52.     The Digital Platform is a service, facility, advantage, or accommodation of

Defendant.

        53.     As a service, facility, advantage, or accommodation of Defendant, Defendant

must ensure blind patrons have full and equal access to the Digital Platform.

        54.     Indeed, the ADA expressly provides that a place of public accommodation

engages in unlawful discrimination if it fails to “take such steps as may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services.”39




35
   28 C.F.R. § 36.303(c)(1); see Bragdon v. Abbott, 524 U.S. 624, 646 (1998) (holding that
DOJ’s administrative guidance on ADA compliance is entitled to deference).
36
   28 C.F.R. § 36.303(b)(2).
37
   28 C.F.R. § 36.303.
38
   42 U.S.C. § 12181(7)(E), (F).
39
   42 U.S.C. § 12182(b)(2)(A)(iii).


                                                17
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 18 of 26




                    Defendant Received Fair Notice of its ADA Obligations

        55.     Defendant and other covered entities have had more than adequate notice of their

obligation to offer individuals with disabilities an equal opportunity to access and enjoy their

services and communications, including the Digital Platform.

        56.     Since its enactment in 1990, the ADA has clearly stated that covered entities must

provide “full and equal enjoyment of the[ir] goods, services, facilities, privileges, advantages, or

accommodations” to people with disabilities,40 and must “ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services.”41

        57.     The DOJ first announced its position that Title III applies to websites of public

accommodations in a 1996 letter from Assistant Attorney General Deval Patrick responding to

an inquiry by Senator Tom Harkin regarding the accessibility of websites to blind individuals.42

        58.     Since then, DOJ has “repeatedly affirmed the application of [T]itle III to Web

sites of public accommodations.”43

        59.     In 2000, DOJ argued to the Fifth Circuit that a business providing services solely

over the internet is subject to the ADA’s prohibitions on discrimination on the basis of

disability.44


40
   42 U.S.C. § 12182(a).
41
   42 U.S.C. § 12182(b)(2)(A)(iii).
42
   Letter from Deval L. Patrick, Assistant Attorney General, Civil Rights Division, Department
of Justice, to Tom Harkin, U.S. Senator (Sept. 9, 1996),
 https://www.justice.gov/crt/foia/file/666366/download (last accessed October 18, 2021).
43
   75 Fed. Reg. 43460-01, 43464 (July 26, 2010).
44
    Brief of the United States as Amicus Curiae in Support of Appellant, Hooks v. Okbridge, Inc.,
No. 99-50891 (5th Cir. June 30, 2000),
https://www.justice.gov/sites/default/files/crt/legacy/2010/12/14/hooks.pdf (last accessed
October 18, 2021) (“A COMMERCIAL BUSINESS PROVIDING SERVICES SOLELY OVER


                                                 18
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 19 of 26




       60.     In 2002, DOJ argued to the Eleventh Circuit that there need not be a nexus

between a challenged activity and a private entity´s “brick-and-mortar” facility to obtain

coverage under Title III. DOJ argued that Title III applies to any activity or service offered by a

public accommodation, on or off the premises.45

       61.     In 2014, DOJ entered into a settlement agreement with America’s then-leading

internet grocer to remedy allegations that its website, www.peapod.com, is inaccessible to some

individuals with disabilities, in violation of the ADA. DOJ’s enforcement action against this

online-only business affirms the ADA covers public accommodations that do not operate brick-

and-mortar facilities open to the public.46

       62.     In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

       The Department [of Justice] first articulated its interpretation that the ADA applies
       to public accommodations’ websites over 20 years ago. This interpretation is
       consistent with the ADA’s title III requirement that the goods, services, privileges,
       or activities provided by places of public accommodation be equally accessible to
       people with disabilities.47



THE INTERNET IS SUBJECT TO THE ADA’S PROHIBITION AGAINST
DISCRIMINATION ON THE BASIS OF DISABILITY.”) (emphasis in original).
45
   Brief for the United States as Amicus Curiae in Support of Appellant, Rendon v. Valleycrest
Productions, Inc., No. 01-11197, 294 F.3d 1279 (11th Cir.
2002), https://www.justice.gov/sites/default/files/crt/legacy/2010/12/14/rendon.pdf (last accessed
October 18, 2021).
46
   See Settlement Agreement Between the United States of America and Ahold U.S.A., Inc. and
Peapod, LLC, DJ 202-63-169 (Nov. 17, 2014), https://www.justice.gov/file/163956/download
(last accessed October 18, 2021).
47
   See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to
Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018),


                                                 19
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 20 of 26




        63.       In 2019, the United States Supreme Court declined to review a Ninth Circuit

decision holding that (1) Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et

seq. (“Title III”) covers websites and mobile applications and (2) the imposition of liability on

businesses for not having an accessible website and mobile application does not violate the due

process rights of public accommodations.48

        64.       Thus, since at least since 1996, Defendant has been on notice that its online

offerings must effectively communicate with disabled consumers and facilitate “full and equal

enjoyment” of the products and services it offers.49

                                       SUBSTANTIVE VIOLATION

                               Title III of the ADA, 42 U.S.C. § 12181 et seq.

        65.       The assertions contained in the previous paragraphs are incorporated by reference.

        66.       Title III of the ADA guarantees that individuals with disabilities shall have full

and equal enjoyment of the products, services, facilities, privileges, advantages, or

accommodations of any place of public accommodation.50

        67.       Defendant is bound by the regulations implementing Title III of the ADA, which

require that places of public accommodation ensure effective communication to individuals with

disabilities.51




https://www.adatitleiii.com/wp-content/uploads/sites/121/2018/10/DOJ-letter-to-congress.pdf
(last accessed October 18, 2021).
48
   See Robles v. Domino’s Pizza, LLC, 913 F.3d 898 (9th Cir. 2019), cert. denied, 140 S. Ct. 122
(2019) (No. 18-1539).
49
   42 U.S.C. § 12182(a).
50
   42 U.S.C. § 12182; 28 C.F.R. § 36.201.
51
   28 C.F.R. § 36.303(c).


                                                   20
           Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 21 of 26




          68.    Mr. Giannaros is legally blind and therefore an individual with a disability under

the ADA.

          69.    Defendant is a place of public accommodation under the ADA because it is a

“sales or rental establishment” and/or “other service establishment.”52

          70.    Defendant owns, operates, or maintains the Digital Platform.

          71.    The Digital Platform is a service, facility, privilege, advantage, or accommodation

of Defendant.

          72.    The Digital Platform contains communication barriers that prevent full and equal

use by blind persons, including Mr. Giannaros, using screen access software.

          73.    Because of these communication barriers, Defendant denies Mr. Giannaros full

and equal enjoyment of the information, products, services, facilities, privileges, advantages, or

accommodations that it makes available to the sighted public through the Digital Platform.

          74.    These access barriers now deter Mr. Giannaros from attempting to use the Digital

Platform.

          75.    Defendant’s discrimination is ongoing.

                                     PRAYER FOR RELIEF

          WHEREFORE, Mr. Giannaros requests judgment as follows:

          (A)    A Declaratory Judgment that at the commencement of this action Defendant was

in violation of the specific requirements of Title III of the ADA described above, and the

relevant implementing regulations of the ADA, in that Defendant took no action that was

reasonably calculated to ensure Defendant communicated the digital content of its Digital




52
     42 U.S.C. § 12181(7)(E), (F).


                                                  21
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 22 of 26




Platform to individuals with disabilities effectively such that Mr. Giannaros could fully, equally,

and independently access Defendant’s products and services;

       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to communicate the content of its

Digital Platform to screen reader users effectively such that Defendant’s online products and

services are fully, equally, and independently accessible to individuals with visual disabilities,

and which further directs that the Court shall retain jurisdiction for a period to be determined to

ensure that Defendant has adopted and is following an institutional policy that will in fact cause

it to remain fully in compliance with the law—the specific injunctive relief requested by Mr.

Gianarros is described more fully below:53

               (1)     Within 90-days of the Court’s Order, Defendant shall complete an

accessibility audit of its Digital Platform that will examine the accessibility and usability of the

Digital Platform by consumers who are blind.

               (2)     Within 180-days of the Court’s Order, Defendant shall develop a

corrective action strategy (“Strategy”) based on the audit findings. In addition to the deadlines

outlined below, the Strategy shall include dates by which corrective action shall be completed.




53
   The injunctive relief herein is consistent with a 2011 settlement agreement entered into
between National Federation of the Blind and The Pennsylvania State University, available at
https://accessibility.psu.edu/nfbpsusettlement/ (last accessed October 18, 2021); a 2014
settlement agreement between the U.S. Department of Justice and Ahold U.S.A., Inc. and
Peapod, LLC, supra note 46; and a 2014 Resolution Agreement between the U.S. Department of
Education and Youngstown State University, available at https://www2.ed.gov/documents/press-
releases/youngstown-state-university-agreement.pdf (last accessed October 18, 2021).


                                                 22
        Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 23 of 26




                 (3)   Within 210-days of the Court’s Order, Defendant shall disseminate the

Strategy among its executive-level managers, employees, and contractors, if any, involved in

digital development and post it on the Digital Platform.

                 (4)   Within 90-days of the Court’s Order, Defendant shall develop a Digital

Accessibility Policy Statement that demonstrates its commitment to digital accessibility to blind

and other print disabled consumers, as required by the Americans with Disabilities Act. This

Policy Statement shall be posted in the header of each homepage on the Digital Platform within

120-days of the Court’s Order, and shall disclose that an audit is taking or has taken place and

that a Strategy will be disseminated and posted on the Digital Platform within 180-days of the

Court’s Order.

                 (5)   Within 240-days of the Court’s Order, Defendant shall develop procedures

to implement its Digital Accessibility Policy across the entire Digital Platform. Defendant shall

disseminate its Policy and procedures to its executive-level managers, employees, and

contractors, if any, involved in digital development.

                 (6)   Within 12-months of the Court’s Order, Defendant shall conduct training,

instruction and support to ensure that all executive-level managers and employees involved in

digital development are aware of and understand the Digital Accessibility Policy, including

proper procedures, tools, and techniques to implement the Digital Accessibility Policy

effectively and consistently.

                 (7)   Within 12-months of the Court’s Order, Defendant shall hire or designate

a staff person with responsibility and commensurate authority, to monitor the Digital

Accessibility Policy and procedures.




                                                23
         Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 24 of 26




               (8)     Within 12-months of the Court’s Order, Defendant shall develop and

institute procedures that require third-party content and plug-ins built into the Digital Platform to

provide blind consumers the same programs, benefits and services that they do to individuals

without disabilities, except that when it is technically unfeasible to do so. Defendant shall

effectuate these obligations by, among other things, implementing as part of its Request for

Proposal process language that bidders meet the accessibility standards set forth in WCAG 2.0

Level AA for web-based technology and the Americans with Disabilities Act; requiring or

encouraging, at Defendant’s discretion, as part of any contract with its vendors, provisions in

which the vendor warrants that any technology provided complies with these standards and any

applicable current federal disability law.

               (9)     Within 18-months, all pages hosted on the Digital Platform that have been

published shall be Accessible to blind users. “Accessible” means fully and equally accessible to

and independently usable by blind individuals so that blind consumers are able to acquire the

same information, engage in the same interactions, and enjoy the same services as sighted

consumers, with substantially equivalent ease of use.

               (10)    Defendant shall not release for public viewing or use a substantial

addition, update, or change to the Digital Platform until it has determined through automated and

user testing that those proposed additions, updates, or changes are Accessible.

               (11)    Defendant shall conduct (a) an automated scan monthly and (b) end-ser

testing quarterly thereafter to ascertain whether any new posted content is accessible. Defendant

shall notify all employees and contractors, if any, involved in digital development if corrections

to Digital Platform are needed and of reasonable timelines for corrections to be made. Defendant




                                                 24
           Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 25 of 26




shall note if corrective action has been taken during the next monthly scan and quarterly end-user

test.

                (12)   Following the date of the Court’s Order, for each new, renewed, or

renegotiated contract with a vendor of Third-Party Content, Defendant shall seek a commitment

from the vendor to provide content in a format that is Accessible.

                (13)   Defendant shall provide Plaintiff, through his counsel, with a report on the

first and second anniversaries of the Court’s Order which summarize the progress Defendant is

making in meeting its obligations. Additional communication will occur before and after each

anniversary to address any possible delays or other obstacles encountered with the

implementation of the Digital Accessibility Policy.

          (C)   Payment of actual, statutory, nominal, and other damages, as the Court deems

proper;

          (D)   Payment of costs of suit;

          (E)   Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment;54

          (F)   Whatever other relief the Court deems just, equitable and appropriate; and



54
   See People Against Police Violence v. City of Pittsburgh, 520 F.3d 226, 235 (3d Cir. 2008)
(“This Court, like other Courts of Appeals, allows fees to be awarded for monitoring and
enforcing Court orders and judgments.”); Gniewkowski v. Lettuce Entertain You Enters., Inc.,
No. 2:16-cv-01898-AJS (W.D. Pa. Jan. 11, 2018) (ECF 191); Access Now, Inc. v. Lax World,
LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11); Amended Order Granting In
Part Plaintiffs’ Motion For Attorneys’ Fees And Costs; Denying Administrative Motion To
Seal, Nat’l Fed’n of the Blind of Cal. v. Uber Techs., Inc., No. 3:14-cv-04086-NC (N.D. Cal.
Nov. 8, 2019), https://rbgg.com/wp-content/uploads/NFB-v-Uber-Amended-Order-Granting-In-
Part-Pltfs-Motion-for-Attys-Fees-and-Costs-11-08-19.pdf (last accessed October 18, 2021)
(finding plaintiffs “are entitled to reasonable attorneys’ fees incurred in connection with
monitoring [defendant’s] compliance with the Settlement” of a Title III ADA case).


                                                25
        Case 1:21-cv-11694-GAO Document 1 Filed 10/18/21 Page 26 of 26




       (G)    An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

 Dated: October 18, 2021                        /s/ Jason M. Leviton
                                                Jason M. Leviton (BBO# 678331)
                                                BLOCK & LEVITON LLP
                                                260 Franklin Street, Suite 1860
                                                Boston, MA 02110
                                                Phone: (617) 398-5600
                                                jason@blockleviton.com

                                                Kevin W. Tucker (He/Him)
                                                Pa. No. 312144
                                                Kevin J. Abramowicz
                                                Pa. No. 320659
                                                EAST END TRIAL GROUP LLC
                                                6901 Lynn Way, Suite 215
                                                Pittsburgh, PA 15208

                                                Tel. (412) 877-5220
                                                Fax. (412) 626-7101
                                                ktucker@eastendtrialgroup.com
                                                kabramowicz@eastendtrialgroup.com




                                              26
